                Case: 2:15-cr-00240-EAS Doc #: 212 Filed: 10/03/16 Page: 1 of 6 PAGEID #: 616
AO 24SB (Rev. 02/16) Judgment in a Criminal Case
                     Sheet I




                                         United States District Court
                                                          Southern District of Ohio

                                                                        )
              UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                                                        )
                                  V.
                                                                        )
                     KERRIS D. MONCREASE                                )
                                                                               Case Number: 2:15-CR-240(5)
                                                                        )
                                                                        )      USM Number: 73346-061
                                                                        )
                                                                                TIM MERKLE
                                                                        )
                                                                        )      Defendant's Attorney
THE DEFENDANT:

B pleaded guilty tocount(s)            ONE OFTHE INDICTMENT
• pleaded nolo contendere to count(s)
   which was accepted by the court.
• was found guiity on count(s)
   after a piea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                     Offense Ended               Count




       The defendant is sentenced as provided in pages 2 through                       of this Judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
• The defendant has been found notguilty on count(s)
• Count(s)                                            •   is    • are dismissed on the motion of the United States.

          It is orderedthat the defendant must notify the United States attorney for this district within 30 days ofany change ofname, residence,
or maiiing: address untii allfines, restitution, costs, andspecial assessments imposed bythisJudgment are fully paid. Ifordered to payrestitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                       9/29/2016
                                                                       Dale of ImpositionofJudgment




                                                                      Signature ofJudg^^^^^^^
                                                                       EDMUND A. SARGUS, JR. CHIEF JUDGE
                                                                      Name and Title of Judge




                                                                       Date
                 Case: 2:15-cr-00240-EAS Doc #: 212 Filed: 10/03/16 Page: 2 of 6 PAGEID #: 617
AO 245B (Rev. 02/16) Judgment in CriminalCase
                       Sheet 2 — Imprisonment
                                                                                                      Judgment — Page      2   of
DEFENDANT: KERRIS D. MONCREASE
CASE NUMBER: 2:15-CR-240(5)

                                                               IMPRISONMENT

           The defendatit is hereby committed to the custody of the Federal Bureau of Prisotis to be imprisotied for a total
term of:

 42 MONTHS (to include time served)




    El The court makes the following recommendations to the Bureauof Prisons:

 THE DEFENDANT COMPLETE HiS GED
 THE DEFENDANT SHALL PARTiCiPATE IN THE RDAP PROGRAM SHOULD HE QUALIFY.


    El The defendant is remandedto the custody of the United States Marshal.

    •      The defendant shall surrender to the United States Marshal for this district:

           •   at                                 •     a.m.    •   p.m.       on
           •   as notified by the United States Marshal.

    •      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons;

           •   before 2 p.m. on                                            .
           •   as notified by the United States Marshal.

           •   as notified by the Probation or Pretrial Services OfTice.


                                                                    RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                          to

a                                                     , with a certified copyof thisJudgment.


                                                                                                   UNITED STATES MARSHAL



                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
                     Case: 2:15-cr-00240-EAS Doc #: 212 Filed: 10/03/16 Page: 3 of 6 PAGEID #: 618
AO 24SB (Rev. 02/16) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                             Judgment—Page      O     of
 DEFENDANT:                KERRIS D. MONCREASE
CASE NUMBER: 2:15-CR-240(5)
                                                             SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 YEARS.


        The defendant must reportto the probationoffice in the districtto which the defendant is released within 72 hoursof release fromthe
custody of the Bureauof Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suomit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
•           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, ifapplicable.)

 C!)        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, f applicable.)
 0          The defendantshall cooperate in the collection of DNA as directed by the probationofficer. (Check, ifapplicable.)

 f-i        Thedefendant shall comply with the requirements of the SexOffender Registration and Notification Act (42 U.S.C. § 16901, el seq.)
            as directed by the probationofficer, the Bureauof Prisons,or any state sex offender registrationagency in which he or she resides,
            works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)

•           The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
                If thisjudgment imposes a fine or restitution, it is a condition of supervised releasethat the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
               Thedefendantmustcomplywith the standardconditionsthat have beenadoptedby this court as well as with anyadditional conditions
on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)      the defendantshall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
     6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administerany
             controlled substance or any paraphernalia related to anycontrolled substances, except as prescribed by a physician;
     8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)      thedefendant shall notassociate with any persons engaged incriminal activity and shall notassociate with anyperson convicted of a
              felony, unless granted permission to do so by the probation officer;
    10) the defendant shall permita probation officerto visithim or her at any time at homeor elsewhere and shall permitconfiscation of any
        contraband observed in plain view of the probation officer;
    11) the defendant shall notifythe probation officerwithinseventy-two hoursof beingarrested or questioned by a lawenforcement officer;
    12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of thecourt; and
    13)      asdirected bythe probation officer, thedefendant shall notify third parties ofrisks that may beoccasioned by the defendant's criminal
              record orpersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
              defendant^ compliance with such notification requirement.
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AO 24SB (Rev. 02/16) Judgment in a Criminal Case
        Sheet 3C — Supervised Release
                                                                           Judgment—Page   4    of
DEFENDANT: KERRIS D. MONCREASE
CASE NUMBER: 2:15.CR-240(5)

                                          SPECIAL CONDITIONS OF SUPERVISION
 1) THE DEFENDANT SHALL PARTICIPATE IN A PROGRAM OF TESTING AND TREATMENT FOR ALCOHOL AND
 CONTROLLED SUBSTANCE ABUSE, AS DIRECTED BY THE U.S. PROBATION OFFICE, UNTIL SUCH TIME AS THE
 DEFENDANT IS RELEASED FROM THE PROGRAM BY THE PROBATION OFFICE. THE DEFENDANT WILL MAKE A
 CO-PAYMENT FOR TREATMENT SERVICES NOT TO EXCEED $25 PER MONTH, WHICH IS DETERMINED BY THE
 DEFENDANT'S ABILITY TO PAY.
                 Case: 2:15-cr-00240-EAS Doc #: 212 Filed: 10/03/16 Page: 5 of 6 PAGEID #: 620
AO 24SB (Rev. 02/16) Judgment in a Criminal Case
         Sheet 5 — Criminal Monetary Penalties
                                                                                                           Judgment —Page        5   of
 DEFENDANT:              KERRIS D. MONCREASE
 CASE NUMBER: 2:15-CR-240{5)
                                                   CRIMINAL MONETARY PENALTIES

       The defendant mustpay the total criminal monetary penalties underthe schedule of payments on Sheet 6.

                         Assessment                                            Fine                                Restitution
 TOTALS              $    100.00                                           $                                   $



 •     The determination ofrestitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.


 •     The defendantmust make restitution (including communityrestitution)to the following payees in the amount listed below.

       Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order orpercentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
       before theUnited States ispaid.
     Naine of Payee                                                                 Total Loss*       Restitution Ordered^ Priority or Percentage




 TOTALS                                                            0.00              «                     0.00



 •      Restitution amount ordered pursuant to plea agreement $

 •      The defendantmust pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth dayafterthe date of thejudgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 •      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        •   the interest requirement is waived for the         •       fine     •     restitution.
        •   the interest requirement for the        •   fine       •      restitution is modifiedas follows:

 * Findingsfor the totalamountof lossesare requiredunder Chapters 109A,110,11OA, and 113Aof Title 18for offensescommitted on or after
 September 13, 1994, but before April 23, 1996.
                 Case: 2:15-cr-00240-EAS Doc #: 212 Filed: 10/03/16 Page: 6 of 6 PAGEID #: 621
AO 243B (Rev.02/16)Judgmentin a CriminalCase
          Sheet6 — Schedule of Payments
                                                                                                                Judgment — Page             of

 DEFENDANT: KERRIS D. MONCREASE
 CASE NUMBER: 2;15-CR-240(5)

                                                           SCHEDULE OF PAYMENTS

 Having assessed thedefendant's ability to pay, payment ofthetotal criminal monetary penalties isdue as follows:
 A    0     Lump sum payment of $             100.00              due immediately, balance due

            •     not later than                                       ,or

            •     in accordance           •     C,     •    D,    •     E, or     •    F below; or

 B          Payment to begin immediately (may be combined with                  • C,       • D, or       DP below); or
 C    •     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    •     Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                          (e.g., 30 or 60 days) after release from imprisonmentto a
            term of supervision; or

 E    •     Payment during the term of supervised release will commencewithin                                (e.g., 30 or 60 days) after release from
            imprisonment. Thecourt will set the payment plan based on an assessment of the defendant's ability to payat thattime; or
      •     Special instructions regarding the paymentof criminal monetaiypenalties:




 Unless the court has expressly ordered otherwise, ifthisJudgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons
 Inmate Financial Responsibility Program, are madeto the clerkof the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 •    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 •    The defendant shall pay the cost of prosecution.

 •    The defendant shall pay the following court cost(s):

 0    The defendant shall forfeit the defendant's interest in the following property to the United States:
          PROPERTY AS DESCRIBED IN FORFEITURE A OF THE INDICTMENT




 Payments shall beapplied inthefollowing order: (1) assessment, (2)restitution principal, (3)restitution interest, (4) fine principal,
 (5) fine interest, (6)community restitution, (7) penalties, and(8) costs, including costof prosecution andcourt costs.
